                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11 (Subchapter V)
                                                         )
 FREE SPEECH SYSTEMS LLC,                                ) Case No. 22-60043
                                                         )
                         Debtor.                         )
                                                         )

                                     NOTICE OF APPEAL

          Appellants Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the

Estate of Marcel Fontaine (collectively, the “Texas Plaintiffs”), pursuant to 28 U.S.C. § 158(a)(1)

and Rules 8002(a)(1) and 8003 of the Federal Rules of Bankruptcy Procedure, appeal to the United

States District Court for the Southern District of Texas this Court’s Order Supplementing Order

Dismissing Case [Docket No. 1021] (the “Supplemental Dismissal Order”), entered in the above-

captioned Chapter 11 case on September 25, 2024. A copy of the Supplemental Dismissal Order

is attached hereto as Exhibit A.

   The parties to the Supplemental Dismissal Order and the names, addresses, and telephone

numbers of their respective attorneys, are as follows:

                    Party                               Party’s Attorneys
 Appellants                            WILLKIE FARR & GALLAGHER LLP
                                       Jennifer J. Hardy
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    Appellee                                      O’CONNORWECHSLER PLLC1
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1
    O’ConnorWechsler PLLC is Appellee’s last known counsel.

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Dated: October 8, 2024
                         Respectfully submitted,

                         /s/ Jennifer J. Hardy
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on all parties
registered to receive electronic notice through the Court’s CM/ECF system on October 8, 2024.

                                                      /s/ Jennifer J. Hardy




                                                 4
Exhibit A
         Case 22-60043 Document 1021 Filed in TXSB on 09/25/24 Page 1 of 1
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                           UNITED STATES BANKRUPTCY COURT                              September 25, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 11
                                                  §
FREE SPEECH SYSTEMS, LLC,                         § Case No. 22-60043 (CML)
                                                  §
                 Debtor.                          §
                                                  §

                  ORDER SUPPLEMENTING ORDER DISMISSING CASE
                             [Related to Docket No. 956]

         1.      Effective as of the entry of the Order Dismissing Case [Docket No. 956] (the

“Dismissal Order”), pursuant to Section 349(b), all property of the estate of Debtor Free Speech

Systems, LLC (“FSS”) shall be deemed to have vested in the bankruptcy estate of Alexander E.

Jones, Case No. 22-33553, as property of that estate pursuant to Section 541 and shall be under

the control of the trustee of such estate (“Chapter 7 Trustee”).

         2.      The Chapter 7 Trustee is authorized to operate the business of FSS pursuant to

Section 721 for a period not to exceed one year, absent further order of this Court.

           Signed: _____________, 2024.
              August 02,
              September  2019
                        25, 2024
                                              HONORABLE CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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